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                                                     UNITED STATES DISTRICT COURT
                                                          DISTRICT OF IDAHO
                                                  Transcript Designation and Ordering Form

U.S. Court of Appeals Case No. 21-3005                                  U.S. District Court No.          19-134

Short Case Title          USA v. Rojas

Date Notice of Appeal Filed by Clerk of District Court 2/17/21


SECTION A - To be completed by party ordering transcript

   HEARING DATE                        COURT REPORTER                         PROCEEDINGS (strike portion not desired)
   Change of Plea                        Lynette Case - ESR                  Voir Dire
   Sentencing                            Anne Boline                         Opening Statements
                                                                             Settlement Instructions
                                                                             Closing Arguments
                                                                             Jury Instructions
                                                                             Pre-Trial Proceedings
                                                                             Other (please specify)
                                                                              (attach additional page for designations if necessary)
    I do not intend to designate any portion of the transcript and will notify all counsel of this intention.
    As retained counsel (or litigant proceeding in pro per), I request a copy of the transcript and guarantee payment to the reporter of
    the cost thereof upon demand. I further agree to pay for work done prior to cancellation of this order.
     As appointed counsel I certify that an appropriate order authorizing preparation of the Transcript at the expense of the United States
     has been, or within 5 days hereof will be obtained and delivered to the reporter. I agree to recommend payment for work done prior
     to cancellation of this order.


Date transcript ordered                                                Estimated completion date

Signature of Attorney /s/ Rob S. Lewis
Address: 913 W. River Street, STE. 430                                                           Phone Number (208)713-9583
             Boise, Idaho 83702
                                                                                                 e-mail:        office@roblewislaw.com
Section B - To be completed by Court Reporter
I, ____________________________________________________ have received this designation.
                  (Signature of Court Reporter)

( ) Arrangements for payment were made on _______________________________________________
( ) Arrangements for payment have not been made pursuant to FRAP 10(b).
Approximate Number of Pages in Transcript __________ Due Date ______________________
Section C - To be completed by Court Reporter
When the transcript is filed, complete and submit to the U.S. District Court with the completed transcript. District Court will not file the
transcript without this completed form.

Date Transcript Filed ____________________ Court Reporter' s Signature_______________________________________

Section D
U.S. DISTRICT COURT CLERK: I certify that the record is available in the office of the U.S. District Court.
By: ______________________________________________________________________________________________
    (U.S. District Court Clerk)                               (date)                                     (Deputy Clerk)


This is the CERTIFICATE OF RECORD. A copy should be transmitted to the Court of Appeals by the District Clerk when the
transcript is filed and the record is complete in the District Court.
